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          EXHIBIT A
            Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 2 of 49
                                                                                                                                                 zfrc// 9e9Pt-

                                           SUMMONS
                                   (CITACION JUDICIAL)                                      Cr1,,          ii    .,•.:
                                                                                             -        t'         -, Cflsg' g.
 NOTICE TO DEFENDANT:                                                                                       13t.:,:......
                                                                                                                'i
 (AVISO AL DEMANDADO):
                                                                                                                                          ae
  CHERNE CONTRACTING CORPORATION; and DOES I through JO,
  inclusive,

 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE1:

  BEATRICE PARKER on behalf of herself, and all others similarly
  situated,

  Iwl turn rou new ocen sueo. trio court may oec,oe against you w'lnout your acing 110am 1011055 you respone within ao days. Read the inTolfllatiOn
   below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to rite a written response at this court and have a copy
  served on the plaintif.I. A letter or phone call will not protect you. Your written response must be in proper legal term if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court terms and more Information at the California Courts
  Online Selt.Help Center (www.caurtinloca.gov/selmelp), your county law library, or the courthouse newest you. If you cannot pay the filing fee, ask
  the court dark to; a fee waiver term. If you do not tile you; response on time, you may lose the use by detault, and your wages, money, and properly
  May be tdlcen without further warning from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. II you cannot afford an attorney. you may be eligible for free legal servIces from a nonprofit legal servIces program. You can locate
  these nonprofit groups at the California Legal Services Web site (vwiw.Iewfrefpcehfernie.org), the California Courts Online Soil-Help Center
  (wtwv.ceuitinlo.ca.govitelmelp). or by contacting ye.w local court or county bar assodation. NOTE: The court has a statutory lion for waived fees and
  costs on any settlement or arbitration award of $10,000 or more In a civil was. The courtS lien must be paid before the court will dismIss the case.
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The name and address of the court is:                                                                            '       we W.                        U LU
                               Rene C. Davidson Courthouse
(El nombre y dfrecciOn dole torte as):
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                                                                                                                                     1.

Alameda County Superior Court
1225 Fallon Sireet, Oakland, California 94612'
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre. In direction y el nOmom do lolOfono del obogado del dernendente, a dol clemendante quo no hone abogaclo, as):
 Eric A.Grover. KELLER GROVER I.I.P. 1965 MurkerSlreei,San Francisco, CA 94103 (415) 543-1305


fl.         FEB 1 3 2018
                                                    Chad Finke                 Clthb
                                                                                                 1_#al-\c                                                    Deputy
      mci or cornea or mis summons, use irool of service of summons florm PQS'UiU).)
      pruebe do entrege do esta citatiOn use as forrnuterfo Proof of Service of Summons. POS01C
      -                         NOTICE TO THE PERSON SERVED: You are served
                                i. flJ as an individual defendant.
                                   (flj as the person sued under the fictitious name of (specify):

                                          EEl on behalf of (specify): Cherne Contracting Corporation
                                          under:   EZJ    CCP 416.10 (corporation)                         C CCP 416.60 (minor)
                                                    J     CCP 416,20 (dofuncl corporation)            '    cJ            CCP 416.70 (conservatee)
                                                   E1     CCP 416.40 (association or partnership)          Ifli          CCP 416.90 (authorized person)
                                                   EJ other (specily,):
                                     11   = by personal delivery on Wale):                                                                                   Page tell
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                      Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 3 of 49




                       ERIC A. GROVER (SUN 136080)
                       eagrc,verg?kel Iergrover.com
                  2     ROBERT V. SPENCER (SUN 238491)
                         pencerkelIergrover.com                               EDQRSID
                  3
                       KELLER CROVER LLP
                  4    1965 Market Street                                 ALAMrr'i Gt)UNTV
                       San Francisco, California 94103
                                                                                 FEB 12.zel8
                  5    Telephone: (415) 543-1305
                       Facsimile: (415) 543-7861                       CLCR< i13r: 11   c rntoF CZJ
                  6
                       SCOT BERNSTEIN (SUN 94915)
                  7
                       swampaderosbernsteinIaw.corn
                  8    LAW OFFICES OF SCOT D. BERNSTEIN,
                       A PROFESSIONAL CORPORATION
                  9    101 Parkshore Drive, Suite 100
                       Folsom, California 95630
      C,
      C         10     Telephone: (916) 447-0100
                       Facsimile: (916) 933-5533
           Co   II
 'I    •..
                12     Attorneys for Plaintiff
w                      BEATRICE PARKER
                13
o i&
  C-
                14                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                15                                 FOR THE COUNTY OF ALAMEDA

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                '7                                                                       n
                         A1'RICE PARKER on behalf of herself, and .) Case No:
                18       others similarly situated,                )
                                                                     CLASS ACI1ON
                19                            Plaintiff,
                                                                 CLASS ACTION COMPLAINT FOR:
                20           V.                                    UNFAIR BUSINESS PRACTICES;
                                                                   VIOLATIONS OF THE LABOR CODE;
                .it
                         ERNI3 CONTRACI1NC} CORPORATION;            PENALTIES; and
                22       1)OES 1 through 10, inclusive,              ATFORNEYS' FEES.

                23                          Defendants.          I)EMANI) FOR JURY TRIAL
                24

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                       COMPlAINT                                                                  CAI NC).




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                  Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 4 of 49
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                          Plaintiff I3EATRICE     PARKER. on behalf of herself and all others similarly situated.
              2   complains against Defendants CHERNE CONTRACTING CORPORATION. and Does I

              3   through JO (all referred io collectively as "Defendants" or "CHERNL) as follows:

              4                                     I. .JURISI)ICTION AND VENUE
              5           I.      This Court has subject matter jurisdiction over Plaintiff's claims, based on, among

              6   other statutes. Calilbrnia Business & Professions Code §§ 17200. ci seq.. and California Labor

              7   Code §*201-203, 226(a). 226.72 510, 512, 1194, 1194.2, 1197, 1197.1, 1198 and 1199. Plaintiff

              8   does not allege claims founded directly on rights created by a collective bargaining agreement or

              9   claims substantially dependent on analysis or interpretation of a collective bargaining agreement,

             10   and expressly disclaims any such claims.
 2
             II           2.      This Court has personal jurisdiction over the parties because at all times relevant

             12   hereto Plaintiff was a California resident who worked In California for Defendants and

         13       Defendants have systematically and continuously conducted business in the State of California.
otf
     '       ii           3.      Venue is proper in this Court'bccausc California Code of Civil Proccdurc §* 395

     j       is   and 395.5, and ease law interpreting those sections, provide that if a foreign business entity fails

         16       to designate with the ollice of the California Secretary of State a principal place of business in
 .


                  California. it is subject to being sued in any county in the state that plaintiff desires.              On
         17
                  information and belief, as of the date this Complaint is liled. Dcfendant CI'lERNl:
 -       18
                  CONTRACTING CORPORATION, is a foreign business entity and has failed to designate a
         19
                  principal plac'e of business in California with the office of the Secretary of State.
         20
                                                   II. PARTIES AND BACKGROUND
         21
                         4.      Plaintiff I3EATRICE PARKER is an adult who worked for l)elbndants as a non-
         77


                  exempt hourly employee. She worked for Defendants as a driver from approximately June                  30.
         23
                  2015 through February 20. 2017 at the Tesoro refinery located in Martinez. California.

             -           5.      Defendant     CIIERNE. CONTRACTING               CORPORATION             is   it   l)elawarc

                  Corporation doing business throughout California and is a "person" as delined by California
         16
                  Labor Code § IS and California Business'and Professions Code § 17201. In addition! it is an
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                  "employer' as that term is used in the California Labor Code and in the California Industrial
         28

                  COMPLAINT                                                 I                                       cAsI:No.
                                   Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 5 of 49
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                                    Welfare Commission's Orders regulating wages, hours, and working conditions.

                                                   Plaintiff is ignorant of the true names and capacities of Defendants stied as Does I

                          3        through 10, inclusive, and therefore sue those Defendants by those fictitious names. Plaintiff will

                          4        amend this Complaint to allege their true names and capacities when ascertained. Plaintiff is

                                   informed and believes and on that ground alleges that each of the fictitiously named Defendants is

                          6        responsible in some manner for the occurrences alleged and that Plaintilrs damages and other

                          7        losses as alleged are proximately caused by those occurrences.   -




                          $                       Plaintiff brings this action on behalf of a proposed state wide class of hourly non-

                          9        exempt on-site employees who worked at Cl-IERNE locations in California to challenge

                         10        Defendants' (a) policy and practice of failing to pay any wages whatsoever, including the
               -
       C'
I.             SC                  minimum vage, to employees for compensable travel time, including time spent traveling and/or

                         12        waiting for and/or operating company-provided transportation to, from and/or within the

                         13        refineries and other facilities; (b) policy and practice of violating California Labor Code § 510

                         14        and IWC Wage Order 16-2001 by failing to pay overtime wages to employees who worked more

  , I- ffl               15        than eight hours in a day or 40 hours in a week: (c) policy and practice of violating California
           -

U-i        3T
                         16        Labor Code §§ 226.7 and 512, and I WC Wage Order 16-2001 by failing to provide meal periods

                         17        to employees, including second meal periods to employees who worked more than 10 hours in a

                         18        day; (d) policy and practice of violating California Labor Code § 226.7 and IWC Wage Order 16-

                         19        2001 by failing to authorize and permit third rest periods to employee who worked more than 10

                     20            hours in a day; (e) policy and practice of violating California Labor Code § 226 by Ihiling to

                     21            provide complete and accurate itemized wage statements; and (I) policy and practice of violating

                     1')           California Labor Code §§ 201203 by ibiling to pay former employees all wages due and owing

                     23            at the time of discharge or voluntary quit.

                     24                   K.      Plaintiff brings this action on hehalfof herself and a proposed cIaiu of all hourly

                     25            non-exempt on-site workers employed by C'HERNE at client locations within the State of

                     26            California at any time during the four-year period preceding the filing of this Complaint up to the

                     27            present and tuniil compliance with the law. Plaintiff seeks recovery of all allowable compensation

                     28            and other sums for the violations described above, including unpaid minimum and overtime

                                   COM PI4Al NT                                                                             CASE NO.




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          I   wages, penalties/premium pay for missed meal and rest periods, restitution and restoration of

          2   sums owed and property unlawfully withheld, statutory penalties, declaratory and injunctive

          3   relief interest, attorneys' fees. and costs.

          4                                       lII.I'ACTUAL ALLEGATIONS

          s           9.      CllERi'm provides workers on a contract basis for its clients that operate refineries

          6   or industrial plants. llie work is performed at multiple locations in the State of California.

          7           tO.     At all relevant times! Plaintiff was employed by CFIERNIZ as an hourly non-

          8   exempt employee in an onsitc construction occupation as defined by § 2(C) of IWC Wage Order

          9   16-2001. l)uring her employment with CHERNE. Plaintiff worked six to seven days a week, and

         10   typically worked over tO hours a day.
 2
         II           It.    Defendants had a policy and practice of failing to pay Plaintiff and other putative
 <p.
         12   class members for all hours worked by failing to pay them any wages, including minimwn wage.

         13   for compensable travel time, including time spent travelling and/or waiting for and/or operating
oI
 jj      14   company-provided shttttles or buses to, from and/or within the refineries and other facilities. At

         15   all times relevant Labor Code §§ 226.7 and 512, and IWC Wage Order 16-2001, § 10(8) require

         16   employers to provide employees with a first meal period of not less than 30 minutes during which

     }   17   they are relieved of all duty before working more than five hours, and a second duty-frcc. meal

 -       18   period of not less than 30 minutes before working more than 10 hours per day. Additionally. as

         19   alleged herein! Plaintiff and other putative class members worked more than 10 hours and

         20   ClIERNE had a policy and practice of failing to provide them with all timely and required

         21   uninterrupted meal periods of at least 30 minutes. Plaintiff' alleges that she and, on inlbrmation

         22   and belief; other putative class members never waived their right to a secand meal period.

         23   Further. Plaintiff and other putative class members sometimes worked more than 12 hours in a

         24   clay. Under l..abor Code § 512(a), second meal periods are not waivable for employees who work

         25   more than 12 hours in a day.

         26          I'.     During the period in which PlaintilI'was employed by C:lIERNE. she was required

         27   to work shifts longer than 10 hours.       When ClIERNE required Plaintiff and members of the

         28   proposed class to work shills longer than 10 hours. it had a policy and practice of failing to

              COMPLAINT                                                 3                               CASE NO.
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      U             U




                              authorize and permit putative class members to take discrete third rest periods of at least 10

                         2    minutes as required by Labor Code § 226.1 and IWC Wage Order 16-2001, § 11(A).

                                      13.     Labor Code § 226 provides that every employer is required. "semimonthly or at

                         4    the time of each payment of wages," to give each employee an itemized wage statement,

                         )    including "gross wages earned." Dcfendants had a policy and practice of violating Labor Code §

                         6    226 by failing to provide complete and accurate itemized wage statemenis to Plaintiff and the

                         7    putative class members in that the wage statements pr'ovided did not, among other things, include

                         8    the accurate hours worked, the correct applicable rates for the hours worked, and the correct gross

                         9    wages earned.

      a
                        10                    Defendants had a policy and practice of violating California I.abor Code §j 201-

C4        o             II    203 by Ihiling to pay Plaintiff and putative class members all wages due and owing at the time of
 'I
-         0             12    discharge or voluntary quit.
ct
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>                       I)                                   IV. CLASS ACTION ALLEGATIONS

                        14                    Plaintiff brings this action on behalf of herself and as a class action under Code of

          a,
                        Is    Civil Procedure § 382 on behalf of a class of similarly situated persons employed by CFIERNE in

4J                      16    the State of California. Specifically, Plaintiff seeks to represent the class of all hourly non-
               t.
      In                17    exempt on-site employees who performed work for CI'IERNE at job sites located within the State
          0
      a.
       .


                        IS    of California at any time dtiring the four-year period preceding the filing of this Complaint and up

                        }t)   to the present anduntil compliance with the law. Plaintiff also seeks to represent the following

                    20        sub-classes of employees who worked ('or ClIERNE at job sites within the Stale of California:

                    21                               All hourly non-exempt on-site employees who performed work for

                    22                               CHIERNE at any time during the four-year period preceding the filing of

                    23                               this Complaint and up to the present and until compliance with the law,

                    24                               inclusive, who were not paid any wages whatsoever, including minimum

                                                     wage, for certain hours worked, including their time spent traveling and/or

                    26                               waiting for and/or operating company-provided transportation to, from

                    27                               and/or within the relineries and other Ilicilities;

                    28,                              All hourly non-exempt on-site employees who performed work for

                              COM PI.A IN'I'    -                                        4                             CASE NO.
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                                             CHERNI3 and any time during the four-year period preceding the filing of

                                             this Complaint and up to the present and until compliance with the law,

                 3                           inclusive, who were not paid in accordance with Labor Code § 510 when

                 4                           they worked mule thaiu eight hours in a day;

                 )                           All hourly non-exempt on-site employees who performed work for

                 6                           CFIERNE at any time during the four-year period preceding the filing of

                 7                           this Complaint and up to the present and until compliance with the law,

                 x                          inclusive, who worked more than 10 hours in a day and were not provided

                 9                          all meal periods;

      en        10                          All hourly non-exempt on-site employees who performed work for
      a

                11                          CFIERNE at any time during the four-year period preceding the filing of

i—I             12                          this Complaint and up to the present and until compliance with the law,
                 -
                                            inclusive, who worked more than 10 hours in a day but were not provided a
3u
           U.   14                          third rest period;
           ci
      - .- '-
      la —:
      2         15                          All hourly non-exempt on-site employees who performed work for

                16                          CI-IERNE at any time during the fouryear period preceding the filing of
      U...      17                          this Complaint and up to the present and until compliance with the law.
      C'

                18                          who did not receive complete and accurate wage statements; and

                19                  (0      All hourly non-exempt on-site employees who performed work for

                20                          CHI3RNE€ at any time during the three-year period preceding the filing of

                2)                          this Complaint and up to the present and until compliance with the law,

                7                           inclusive, who were not paid all wages due upon discharge or voluntary

                23                          quit as required by Labor Code §§ 201 -203:

                24                  The class and sub-classes PlaintifT seeks to represent contain numerous members

                25   and are clearly ascertainable. Plaintiff reserves the right under Rule 3.765 of the California Rules

                26   of Court to amend or modify the class and sub-class descriptions with greater specificity or

                27   further division into additional sub-classes or limitation to parlicular issues.

                28                  By their unlawlid practices and policies. Defendanta have violated the rights of

                     COMPLAINT                                                  5                            CASE NO.




                                                                                                        k
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                       employees tinder the laws and regulations of the State of California. The questions raised are.

                 I     therefore, of common or general interest to the class members, who have a well-defined

                 3     community of interest in the questions of law and fact raised in this action.

                 4                    Plaintiff's claIms are typical of those of the class, as Plaintiff now suffers and has

                       suffered in the past from the same violations of the law as other members of the proposed class.

                 6     Plaintiff has retained competent counsel to represent her and the class, and Plaintiff will Ihirly and

                       adequately represent the interests of the class.

                                      This action may properly be maintained as a class action undcr.Codc of Civil

                       Procedure § 382 because there is a well-defined community of interest in the litigation and the

     en        10      proposed class and sub-classes are easily ascertainable.
     C

          -

          GO   II      Numerosity

               12                     '[he members of the proposed class are so numerous that joinder of all class

>.             13      members is impracticable. While the precise number of class members has not been determined

          --
               14      at this time, Plaintiff is informed and believes that Defendants have employed as many as 600

               15      workers or more in the relevant time period.

-1             16                     Plaintiff alleges that Defendants' employment records would contain relevant
u31
,- Xi a Ti
               17      information as to the number of members of the proposed class.
     'C



               IS      Commonality

               19                     There arc questions of law and fact common to the class that predominate over any

               20      questions affecting only individual class members. l'hose common questions of law and fact

               21      include, without limitation, the following:

               Y)                             Whether Defendants had a policy or practice of failing to pay class

               23                             members for all hours worked:

               24                             Whether Defendants paid class members at the correct rate for hours

               25                             worked in excess of eight hours in a day;

               26                     (e)     Whether Defendants had a policy and practice of failing to provide class

               27                             members with all of their required meal periods;

               28                     (ci)    Whether Defendants had a policy and practice of failing to provide class

                       COMPLAINT                                                  6                              CASE NO.




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                        Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 10 of 49
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                                               members with all of their required paid rest periods;

                                       (e)     Whether Defendants had a policy and practice of violating Labor Code §

                                               226 by failing 10 provide required information on wage statements, such as

                    4                          gross wages earned, and whether those statements were accurate;

                    S                  (1)     Whether Defendants had a policy and practice of vklating Labor Code §

                                               201-203 by failing to pay departing class members all wages due at the

                    7                          time of discharge or voluntary quit: and

                    8                  (g)     Whether Plaintiff and the members of the class are entitled to equitable

                    9                          relief under Business and Professions Code §§ 17200,ei seq.

      qn           10    Typicality and Adequacy of Representation
      C
           -
      c'o          II                  Plaintiff's claims are typical of the claims of the proposed class. Plaintiff and all
a-I     Go

6-1                12    members of the proposed class sustained injuries and economic loss arising out of and caused by
Ui
>                  13    Defendants' common course of conduct in violation of laws and regulations alleged in this

                   14    complaint.

21                 Is                  Plaintiff will fairly and adequately protect the interests of all proposed class
—2 M
               16       members. Plaintiff has no interests that are antagoninlie to those of the proposed class and is not
Lu
               17        subject to any unique defenses. Plaintiff also has retained counsel experienced in class actions

               18       and in representing employees and protecting employees' rights.

               19        Superiority of Class Action

               20                      A class action is superior to other available means for the fair and efficient

               21       adjudication of this controversy. Individual joinder of all proposed class members is not

                         practicable: and questions of law and fact common to the class predominate over any questions

               23       affecting only individual members of the class. Each member ol' the class has been damaged and

               24       is entitled to recovery by reason of Dcfendants illegal policies and/or practices.

               25                      Class action treatment will allow those similarly-situated persons to lit:igate their

               26       claims in the manner that is most effective and economical lbr the parties and the judicial system.

               27       Plaintiff is unaware of any difficulties that are likely to he encountered in the management of this

               28       action that would preclude its maintenance as a class action.

                        COMPLAINt                                                7                               CASE NO.
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       ]




                                          A class action is superior to other available methods for the fair and efficient

                     2    adjudication of this controversy because individual litigation of the claims of all proposed class

                          members is impractical. Even if every proposed class member could afford individual litigation,

                     4    the court system could not. It would be unduly burdensome to the courts if individual litigation

                     S    of numerous cases were to be required. Individualized litigation also would present the potential

                     6    for varying, inconsistent, or contradictory judgments and would magnify the delay and expense to

                     7    all panics and to the court system resulting from multiple trials of the same complex factual

                     8    issues. By contrast, the conduct of this action as a class action with respect to some or all of the

                     9    issues presented herein gives risc to fewer management difficulties: conserves the resources of the

 en             10        court system and the panics and protects the rights of each proposed class member. Further, it
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 -s         -
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— c             II        prevents the very real harm that wàuld be suffered by numerous putative class members who
  1<I.

       a        12        simply will be unable to enforce individual claims of this size on their own, and by DefendLuits'
LU ;   -
                13        competitors. who will be placed at an unfair competitive disadvantage as their punishment for
-..Ii-.
ct          -
                14        obeying the law. Plaintiff does not anticipate difficulties in the management of this action.

       Lj en    15                                          V. FIRST CAUSE OF ACTION
I-,.   -


                16            (UNFAIR BUSINESS PRACTICES CAL. BUS. & PROF. CODE §§ 17200, etseq.)
                                                                       -




       trl      17                        Plaintiff repeats and realleges each and every paragraph above as though fully set
       '0
       a'
                18        forth herein.

                19                        California Business and Professions Code §§ 17200. ei seq., prohibit unfair

                20       competition in the form olany unlawful. unlhir, deceptive, or fraudulent business act or practice.

                21                        Beginning at an exact date unknown to l'laintifl but at least during the four-year

                7)        period preceding the filing of this Complaint and tip to the present, Defendants committed

                23        unlawful acts and practices as defined by California Business and Professions Code §§ 17200, ci

                24       seq. Defendants have had a policy and practice of engaging in unlawful and unfair business

                25       practices including, but not limited to, violations of:

                26                               l_abor Code § 1194 (litilure to pay all wages due, including minimum.

                27                               overtime, and double-time wages):
                •1                               Labor Code §§ 226.7 and 512 (Iiiilure to provide meal periods and
                £



                         COMPIAIN'I'                                               8                               CASE NO.




                 9                                                I-
                    Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 12 of 49




                                            authorize and permit rest periods);

                2                           Labor Code § 226 (titilure to provide accurate itemized wage statements);

                3                           Labor Code   §§ 201-203 (failure to pay all wages at time of discharge): and
                4                   (c)     Industrial Welfare Commission lWC Wage Order No. 16-2001.

                5            11     The violations of those laws and the acts and practices described in this Complaint

                6    constitute unlawliui, unfair. deceptive and fraudulent business acts and practices and unfair

                7    competition within the meaning of Business and Professions Code      §*   17200, et seq.

                8                   As a direct and proximate result of those acts and practices, Defendants have

                9    received and continue to hold as ill-gotten gains money and property belonging to Plaintiff and

      en       10    the class, in that Defendants have profited in those amounts from their unlawftil practices.
      C
           -
      0'   o   II                   Business and Professions Code § 17203 provides that the Court may restore to any
•1—,( _;

—C             12    person in interest any money or property which may have been acquired by means of unfair
.0
>              13    competition and order restitution by Delbndants to Plaintiff for the practices alleged in this

cx             14    complaint. Plaintiff and putative class members are entitled tinder Business and Professions Code

               'S    §   17203 and 17208 to restitution and restoration of all wages unlawfully withheld at any time

U.1            16    during the Ibur-ycar period preceding the filing of this Complaint and tip through the present and

               17    •'ntil the violations have been corrected, together with all civil penalties dwcd in connection with

               18    those violations. Plaintiff will, upon leave of the Court, amend this Complaint to state those

               19    amounts when they are ascertained.

               20                   Plaintiff's success in this action will enlbrce iñiportant rights affecting the public

               21    interest and, in that regard, Plaintiff sues on behalf of the proposed class as well as on behalf of

               22    herself and the general public. Plaintiff seek'.iiid is entitled to unpaid wages, injunctive relief.

               23    and any other remedy owing to Plaintiff and all others similarly situated.

               24                   Injunctive relief is necessary and appropriate to prevent Defendants from repeating

               25    or continuing their wrongful business practices alleged above.

               26                   In order to prevent Defendants from profiting and benefiting from their wrongful

                     and illegal policies and practices. ;in order requiring Defendants to restore to Plaintiff all monies

               28    and property unlawfully gained through Defendants' unlawful practices is appropriate and

                     COMPLAINt'                                                9                                cASE NO.




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                     Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 13 of 49




                      necessary.

                2            37.      Plaintiff takes upon herself enibreement of these laws and lawful claims. There is

               3      a financial burden incurred in pursuing this action and it would be against the interests of justice

               4      to penalize Plaintiff by Ibrcing her to pay attorneys' fees from the recovery in this action.

                'I    'l'herefore. an award of attorneys' iCes is appropriate tinder California Code of Civil Proccdurc   §
               6 F 1021.5.

               7             Whereibrc, Plaintiff prays for relief as set forth below.

               8                                         VI. SECOND CAUSE OF ACTION

              .9           (UNPAID WAGES, OVERTIME PAY, MINIMUM WAGES AND LIQUIDATED

    C
              10                          DAMAGES - LABOR COI)E §§ 510, 1194 AND 1194.2)
         -

         'C   11             38.      Plaintiff repeats and realleges each and every paragraph above as though fully set
iCh
'Urn
              12      forth herein.

>              3             39.      Labor Code   § 510 and I WC Wage Order 16-2001, require, among other things:
              14                             One and one-half times the employee's regular rate of pay for all hours

    2 c       15                             worked in, excess of eight hours and up to and including 12 hours in any
    -

    U                                        workday, and for the first eight hours worked on the seventh consecutive
    .2-       16

                                             day of work in a workweek; and
    WI
    %0
    0'
         -
              •17
              IS                             l)oublc the employee's regular rate of pay for all hours worked in excess of

              19                             12 hours in any workday and for all hours worked in excess of eight hours

              20                             on the seventh consecutive day of work in a workweek.

              21             40.      Defendants had it policy and practice of failing to pay Plaintiff and other putative

              2?     class members for all hours worked by failing to pay them any wages, including minimum wages

              23     and overtime pay. for certain hours worked. including time spent traveling and/or waiting lbr

              24     and/or operating company-provided transportation.

              25             41.      Plaintiff seeks to recover all unpaid wages and overtime pay due to Plaintiff and

              26     other putative class members. as well as minimum wages and liquidated damages, if appropriate,

              27     and interest, tinder Labor Code     §* 218.6, 1194 and 1194.2.
              28             42.      Plaintiff seeks attorneys' fees and costs under Labor Code   §   1194, which provides

                     COMPLAINT                                                  10       .                       CASE NO.




                                                     -                                       -
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          1     lbr a private right of' action to recover unpaid minimum wage and overtime compensation and

          2     also provides for the recovery of attorneys' fees and costs. Plaintiff also seeks attorneys' fees and

          3     costs under Labor Code 218.5. which provides for the recovery of attorneys' fees and costs in an

          'I    action brought for the nonpayment of wages.

          5             Wherefore. Plaintiff prays for relief as set forth below.

          6                     .                 VII.   THIRI) CAUSE OF ACTION

          7.                    (UNPAID WAGES, OVERTIME PAY AND MINIMUM WAGES                         -




          8                  LABOR COI)E PRIVATE ATTORNEYS GENERAL ACT OF 2004)

          9     .      43.       RESERVED. Plaintiff will add this cause of action to an amended complaint as

         10     allowed by Labor Code § 2699.3(a)(2)(C).
     2
         II                                       VIII. FOURTH CAUSE OF ACTION

         12                                       (FAILURE TO PROVII)E MEAL PERIOI)S)

         13            44.       Plaintiff repeats and realleges each and every paragraph above as though fully set
oI
         14     forth herein.

         IS            45.       At all relevant times, the Defendants were "employers" of Plaintiff and members

LQ   .
         16    of the proposed class within the meaning of Labor Code §§ 226.7 and 512, and IWC. Wage Order

         17     16-2001.2(l).

     -   18            46.       At all relevant times. Plaintiff and members of the proposed class were

         19    "employees" of Defendants within the meaning of Labor Code §§ 226.7 and 512, and IWC Wage

         20    Order 16-2001, § 2(1-1).     Plaintiff and members of the proposed class also were employed by

         21    Defendants in on-site construction occupations, as defined in and within the meaning of IWC

         22    Wage Order 16-2001, § 2(C).

         23            47.      At all relevant times, Labor Code §* 226.7 and 512, and IWC Wage Order 16-

         24    2001: § 10 provide that employees must receive a first meal period of not less than 30 minutes

         25    before working more than live hours, and it second meal period of not less than 30 minutes beibre

         26    working more than lO hours in a day.

         27            48.      As alleged above, Delinclants required Plaintiff and members of the proposed

         28    class at various times to work more than_0_hours in a single day, including, occasionally, shifts

               COMPLAINT                      .                           II                              CASE   NO.




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                     Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 15 of 49




                      longer than 12 hours. On those occasions when Plaintiff and members of the proposed class

                 7    worked more than 10 hours in a single days Defendants had a policy and practice of refusing

                      and/or failing to provide employees all of their required duty•free meal periods as mandated by

                 4    Labor Code §* 226.7 and 512, and IWC Wage Order 16-2001, § 10(13). Plaintiff alleges that she

                 5    and, on information and belief, other members of the proposed class did not waive their rights to a

                 6    second meal period.

                 7                   l)eiendants' practices of failing to prbvide employees timely and uninterrupted

                 8    meal periods of not less than 30 minutes and of requiring employees to work through those meal

                 9    periods, violate Labor Code §§ 226.7 and 512(a), and IWC Wage Order 16-2001, § 10(8).

      C.'       10                   Plaintiff and members of proposed class have lost money as a direct result of
      C

                11    Defendants' unlawful practices as alleged above in that they were required to work shifts longer
 ''C N
 '1 u 'n
—     0         12    than 10 hoi.irs, were not provided their required meal periods, and were not compensated correctly
Ui
>Ex             13    for not having been provided such meal periods, respectively. Accordingly, Plaintiff and
QU.
ad
      C,        14   members of the proposed class are entitled to proper compensation; restitution and premium pay
()          C

                15    for each meal period that was not provided as required by law and to the waiting time penalties

                16    attached to those violations.
U.1
      In'..     17                   CHERNIS's violations of Labor Code §§ 226.7 and 512 and IWC Wage Order 16-
      'C
      0'

                18    2001 as alleged above are ongoing and will continue unless and until this Court enters an

                '9   injunction barring those violations.

                20                   Plaintiff is entitled to an award of attorneys' fees and costs and expenses incurred

                21   in this action tinder Code of Civil Procedure § 1021.5.

                22           Wherefore, Plaintiff prays for relief as set forth below.

                23                                     IX. FIFTH CAUSE OF ACTION

                24                            (FAILURE TO PROVIDE MEAL PERIODS                       -




                25                LABOR CODE PRI VATE ATTORNEYS GENERAL ACT OF 2004)

                26                   RESERVIiD. Plaintiff will add this cause of action to an amended complaint as

                27   allowed by Labor Code § 2699.3(a)(2)(C).

                28

                     COMPLAINT                                                 12                                 C,tSE NO.




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                   Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 16 of 49




                                                      X. SIXTH CAUSE OF ACTION
               I                    (FAILURE TO AUTHORIZE AND PERMIT REST PERIODS)

               3                    Plaintiff repeats and realleges each and every paragraph above as though fully set

               4 I forth hcrein.

               5                    As alleged above, Defendants tequired Plaintiff and members of the proposed

               6    class at various times to work more than 10 hours in a single day. Occasionally, the shills lasted

               7    12 hours or longer. On those occasions when Plaintiff and members of the proposed class worked

               8    more than 10 hours in a single day, Defendants had a policy and practice of rellising and/or

               9    failing to authorize and permit employees to take a third rest period of not less than 10 minutes as

       F.'.   10   required by Labor Code § 226.7 and I WC Wage Order 16-2001, § 11(A). Plaintiff alleges that
       C

n             ii   she and, on information and belieF, members of the proposed class did not waive their rights to a
    ' <N
  'I     •
       c      12    third rest period.
LU
>t!tj
              13                    Defendants' practices of failing to authorize and permit employees to take a third

              14   rest period of.not less than 10 minutes when employees were required to work more than 10 hours

              15   in a day, and of requiring employees to work through that rest period, violate Labor Code § 226.7
I-. • -
114           16   and lWC Wage Order 16-2001, § I 1(A).

              Il                    Plaintiff and members of the proposed class lost money as a direct result of
t4r           18   Defendants' unlawful practices as alleged above in that they were required to work shifts longer

              19   than 10 hours, were not provided a third rest period and were not compensated correctly for not

              20   having been provided a third rest period. Accordingly, Plaintiff and members of the proposed

              21   class are entitled to proper compensation, restitution and premium pay ibr each rest period that

              II   was not provided as required by Labor Code § 226.7.

              23                   Dclèndanis' violations or Labor Code § 226.7 and IWC Wage Order 16-2001 as

              24   alleged above are ongoing and will continue unless and until this Court enters an injunction

              25   barring those violations.

              26                   Plaintiff is entitled to an award of attorneys' fees and costs and expenses incurred

              27   in this action under Code of Civil Procedure § 1021.5.

              28           Wheretbre. Plaintiff prays for relief as set lbrth below.

                   COMPLAINT                                                 13                             CASE NO.
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                                                     Xl. SEVENTH CAUSE OF ACTION

                2              (FAILURE TO AUTHORIZE AND PERMIT THIRI) REST PERIODS                           -




                3                 LABOR COI)E P1(1 VATE ATTORNEYS GENERAL ACT OF 2004)

                4                    RESERVED. Plaintiff will add this cause of action to an amended complaint as

                5    allowed by Labor Code § 2699.3(a)(2)(C)..

                6                                     XII. EIGTH CAUSE OF ACTION

                7            (FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS)

                8                    Plaintiff repeats and realleges each ñnd every paragraph above as though fully set

                     forth herein.

            10                       As alleged above, during all or some portion of the proposed class period,

            II       Defendants violated Labor Code § 226 through their prctice of failing to provide their

'—   ci;:   12       employees. ineluding Plaintiff and members of the proposed class, with complete and accurate
tu
> !         13       itemized wage statements. Among other things, the wage statements provided by Defendants

            14       violated Labor Code §. 226(a) by failing to state accurately the gross wages earned, the actual

            15       hours worked by each employee, and the names and addresses of the legal entities that were the

            16       employers.

            17                       under Labor Code § 226(e), Plaintiff and members of the proposed class are
     C'

            18       entitled to recover the greater of actual damages or $50 for the initial pay period in which a

            19       violation occurred and $100 fbr each subsequent pay period in which Defendants failed to comply

            20       with the statute, up to a maximum of $4,000 per employee.

            21                       Under Labor Code § 226(g), Plaintiff is entitled to injunctive relief and an order of

            27       this Court requiring Defendants to comply with all provisions of Labor Code § 226. Plaintiff also
            n        is entitled under Labor Code § 226(g) to an award of attorneys' fees and costs incurred in

            24       bringing this action.

            25               Vliercfore. Plaintiff prays for relief as set forth below.

            26

            27

            28
                    COMI'lAlN'I'                                                '4                            CASE NO.
                     Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 18 of 49




                                                             NINTH CAUSE OF ACTION
                .3           (FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS                              -




                 1
                                    LABOR CODE PRIVATE ATTORNEYS GENERAL ACT OF 2004)

                4.            65.     RESERVED. Plaintiff will add this cause of action to an amended complaint as

                              allowed by Labor Code § 2699.3(a)(2)(C).

                6                                            TENTH CAUSE OF ACTION

                7                                       (LABOR CODE §§ 201 -203)

                8                     Plaintiff repeats and realleges each and every paragraph above as though hilly set

                9     forth herein.

     rn
     C
               10                     Labor Code §§ 201 and 202 require an employer to pay its employees all wages

m              II     due within the time specified by law. Labor Code § 203 provides that if an employer willfully
.1<
 I
—         Sr   12     fails to pay those wages within the time specified by Labor Code §§ 201 or 202, the employer
w
>         z
               13     must continue to pay the subject employees' wages clay-by-day, weekends included, until the

               14     back wages are paid in full or an action is commenced, up to a maximum of thirty days of wages.
QUId
   tfl
     5
- CI-
     &         '5                     Defendants unfairly and unlawfully have had a policy and practice of violating

W              16     Labor Code §* 201 and 202 by failing to pay Plaintiff and the class all wages earned in their

    0
               17     employment within the time specified by those sections.
    C'

               18                     Plaintiff and all other putative class members who ceased employment with

               19     Defendants arc entitled to unpaid compensation but thus far have not received that compensation.

               20                     More than 30 days have passed since Plaintiff and certain class members left

               21     l)ehèndantW employ.

               22                     As it consequence of Defendants! willful failure to compensate Plaintiff and

               23     putative class members timely for all hours worked, Plaintiff and class members whose

               24     employment ended at any time the during the four-year period preceding the filing of this

               25    Complaint and tip through the present and until compliance with the law are entitled to 30 day:'

               26     wages under Labor Code § 203. together with interest.

               27            Wherelbre, Plaintiff prays for relief as set forth below.

               28
                     COMPLAINI                                                 15                            CASE NO.




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                   Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 19 of 49




                                                    XVI. TWELFTH CAUSE OF ACTION

                                                      (LABOR CODE §§ 201-203           -




             3                   LABOR CODE PRIVATE ATTORNEYS GENERAL ACT OF 2004)

             4             72.     RESERVED. Plaintiff will add' this cause of action to tin amended complaint

                    allowed by Labor Code § 2699.3(a)(2)(C).

                                               XVII. THIRTEENTH CAUSE OF ACTION

             7 !                                        (LABOR CODE § 204b         -




             8                   LABOR CODE PRIVATE ATTORNEYS GENERAL ACT OF 2004)

             9                     RESERVED. Plaintiff will add this cause of action to an amended complaint as

      en    10      allowed by Labor Code §2699.3(a)(2)(C).
      C
I,          II                                   XVIII. FOURTEENTH CAUSE OF ACTION
 'I
—C!         12              (FAILURE TO PROVIDE A DAY'S REST IN SEVEN- LABOR CODE PRIVATE
u.1         13                                     ATTRONEYS GENERAL ACT OF 2004)
> to
o
"l cn 0     14                     RESERVED. Plaintiff will add this cause of action to an amended complaint as
   -Sf-
   C,-
   2r               allowed by Labor Code § 2699.3(a)(2)(C).

            16                                          PRAYER FOR RELIEF

      In.   17            Plaintiff prays for relief as follows:
      'a
      a'
            18                            For an order certifying this action as a class action;

            19                            For disgorgement of profits and restitution and restoration of all costs

                                          incurred, stim; or property unlawfully withheld and/or loizcs caused by the

            21                            policy and practice -of failing to pay all minimum wage, overtime and

            22                            double-time compensation owed to Plaintiff and the class members in

            23                            violation of Business and Professions Code §§ 17200. etseq.;

            24                            For disgorgement of profits and restitution and restoration of all costs

            25                            incurred, sums or property unlawfully withheld and/or losses caused by the

            26                            policy and practice of violating Business antI Professions Code   §*   I 7200,

            27                           vi seq. by lulling to provide proper meal and rest periods and to pans all

            28                            wagesduc and owing for those failures;

                   COMPLAINT                                             .                                  CASE NO.
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                                         For compensatory damages     in   amounts according to proof at time of trial

               2                         representing the amount of unpaid minimum wage. overtime and double

                •1                       time compensation owed to Plaintiff and the class members for the policy

               4                         and practice of failing to payalI wages due and owing, as well as liquidated

               S                         damages as appropriate, during the applicable limitations period preceding

               6                         the filing of the Complaint and tip to and including the present and until the

               7                         date of compliance with the law:

               R                         For compensatory damages in amounts according to proof at time of trial

               9                         representing the amount of unpaid compensation owed to Plaintiff and

              10                         class members for missed meal periods and rest periods due and owing
     C

4
     ;
              II                         during the applicable limitations period preceding the filing of the
 1<.
              12                         Complaint and up to and including the present .and until the date of

>!x
              1'
               •'
                                         compliance with the law;

              14                         For compensatory damages to Plaintiff and class members in an amount
ou
-I        -
              '5                         according to proof at time of trial fbr the policy and practice of failing to

              16                         provide accurate, itcmized wage statements during the applicable

     'r..-    I?                         limitations period preceding the filing of this Complaint and up through the
     0
     C'

              Is                         present and until the date of compliance with the law;

              19                         For the statutory amounts provided by Labor Code § 226(e) for Plaintiff

              70                         and class members during the applicable limitations period preceding the

              21                         filing of this Complaint and up through and including the present and until

              1)                         the date of compliance with the law:

              23                         For waiting time penalties as provided by Labor Code § 203 for Plaintiff

              24                         and class members;

                                         For reasonable attorneys' fees and costs as allowed by Labor Code §

              26                         218.5, 226(e).226(g) and 1194(a) and Code of Civil Procedure § 1021.5:

              27                         For all interest as required by Labor Code § 218.6 and other applicable

              28

                        COM P 11.41 NI                                      '7                             CASE NO.




                    1
                        Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 21 of 49




                                                For all costs of this suit as allowed by law. including Labor Code   §§ 218.5,
                   7                            226(c), 226(g), and 1194; and

                   3                            For such other and further relief as the Court may decm proper.

                   'I

                         Dated: February 12,2018

                   6                                                    Respeettiillv submitted,.

                   7                                                    KELLER GROVER LLP

                   8

                   9                                            By:
                                                                        ERIC A. GROVER
       en
       C
                  10                                                    ROBERT SPENCER
                                                                        Attorneys for Plaintiff and the Proposed Class
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                                                              JURY TRIAL I)EMANO
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            n.j   Is
                                Plaintiff demands a trial by jury as to all issues so triable.
—                 16

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                  18
                         Datcd: February 12, 2018                       KELLER GROVER LL.P
                  19

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                                                                                           /
                  2)
                                                                By:            \i.               fl
                                                                        ERIC A. GROVER
                  77                                                    Rol3ER'r SPENCER
                                                                        Attorneys for Plaintiff' and the Pro'posqd Class
                  23

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                        COM PLAINT                                                   IS                             CASE   No.



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                Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 22 of 49




                    I   ERIC A. GROVER(SI3N 136080)                           ENDORSED
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                2                                                          flLAMI_,.#,. ulJNTY
                        ROBERTW. SPENCER (SBN 238491)
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                3                                                              r&o
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Q.,
04 6           12       Attorneys for Plaintiff
nd
w
      .
                        BEATRICE PARKER
               13

               14
                                           SUPERIOR COURT OF THE, STATE OF CALIFORNIA
               IS
                                                    FOR THE COUNTY OF ALAME1)A
               16
          1-   17
                  BEATRICE.PARKER on behalf of herself, and ) Case No: RG18892816
      -        18 all others similarly situated, and all aggrieved )
                   inployees,                                      ) CLASS AND REPRESENTATIVE ACTION
               19                                                  )
                                           Plaintiff,              ) FIRST AMENDED CLASS ACTION
               20
                                                                   ) COMPLAINT FOR:
                          V.                                            UNFAIR BUSINESS PRACTICES;
               21
                                                                        VIOLATIONS OF 'l'H.E LABOR CODE;
               22 CHERNE      CONTRACTING         CORPORATION;          PENALTIES;      and
                  and DOES I through 10, inclusive,                     ATFORNEYS' FEES.
               23                .                                 )
                                           Defendants.             ) DEMAND FOR .flJRY TIZIA.L
               24
                                                                   )
               25                                                  ) Complaint tiled: February 13, 2018
                                                                   )
               26
               27

               28

                        FIRST AM ENI)EJ) COMPLAINT                                                18892816
                                                                              BY c FAX G

                                                                                      -   --
                      Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 23 of 49




                             Plaintiff BEATRICE PARKER. on behalf of herself and all others similarly situated, and

                 2    on behalf of all aggrieved employees, complains against Defendants CHERNE CONTRACTING

                 3    CORPORATION and Does I through 10 (all referred to collectively as 'Defendants" or

                 4    "CHERNE") as follows:

                 5                                     I. JURISDICTION AND VENUE

                 6           1.      This Court has subject (natter jurisdiction over Plaintiff's claims, based on, among

                 7    other statutes, California Business & Professions Code §§ 17200, ci seq., and California Labor

                 8    Code §§ 201-203, 204b, 226(a), 226.7, 510, 512, 550. 551, 552, 1194, 1194.2, 1197, •l 197.1,

                 9    1198 and 1199. Plaintiff does not allege claims founded directly on rights created by a collective

       en       10    bargaining agreement or claims substantially dependent on analysis or interpretation of a
       0
            -
       0        I.'   collective bargaining agreement; Plaintiff expressly disclaims any such claims: and in the event of
fl.4    00
       <F-
       Qr
-               12    any real or perceived conflict between this disclaimer and any allegedly contrary language in this
LI.)
>u,i            13    First Amended Complaint, this disclaimer shall govern Further, Plaintiff has complied with all

                 4    California Labor Code § 2699.3 requiranents for commencing a civil action under the California
        .-
       0-
                IS    Private Attorneys General Act of 2004, California Labor Code §§ 2698, et seq. ("PAGA").

LI.)            16                   This Court has personal jurisdiction over the parties becausq at all times relevant


 4r             17

                 8
                      hereto, Plaintiff was a California resident who worked in California for Defendants and

                      Defendants systematically and continuously have conducted business in the State of California.

                19                   Venue is proper in this Court because California Code of Civil Procedure §§ 395

                20    and 395.5, and case law interpreting those sections, provide that if a foreign business entity fails

                21    to designate with the office of the California Secretary of State a principal place of business in

                      California, it is subject to being sued in any county in the state that plaintiff desires. On
                22
                      information and belief, as of the date on which the original Complaint was filed, Defendant
                23
                      CHERNE CONTRACTING CORPORATION was a foreign business entity and had failed to
                24
                      designate a principal place of business in California with the office of the Secretary of State.
                25
                      Further, on information and belief, as of the date on which this First Amended Complaint is filedi
                26
                      Defendant CHERNE CONTRACTING CORPORATION still is a foreign business entity and
                27
                      still has failed to designate a principle place of business in California with the office of the
                28

                      FIRST AMENDED COMPLAINT                                                      CASE NO. RC18892816




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                      Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 24 of 49




                       Secretary of State.

                 2                                    II. PARTIES AND BACKGROUND

                 3            4.      Plaintiff BEATRICE PARKER is an adult who worked for Defendants as a non-
                 4    exempt hourly employee. She worked for Defendants as a driver from approximately June 30,

                 5    2015 through February 20, 2017 at the Tesoro refinery located in Martinez. California

                 6                    Defendant CHERNE CONTRACTING CORPORATION is a Delaware 1

                 7    Corporation doing business throughout California and is a "person" as defined by California

                 8    Labor Code § 18 and California Business and Professions Code § 17201. In addition, it is an

                 9    "employer" as that term is used in the California Labor Code and in the California Industrial
     en
     0
                •10   Welfare Commission's Orders regulating wages, hours, and working conditions.

0-icc           11                    Plaintiff is ignorant of the true names and capacities of Defendants sued as Does I
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—    0    'Fl   12    through 10, inclusive, and therefore sues those Defendants by those fictitious names. Plaintiff
L' 9e
>               '3    will amend this Complaint to allege their true names and capacities when ascertainal. Plaintiff is

                '4    informed and believes and on that ground alleges that each of the fictitiously named Defendants is

                Is    responsible in some manner for the occurrences alleged and that Plaintiff's damages and other

Lu              16    losses as alleged are proximately caused by those occurrences.
                17                    Plaintiff brings this action on behalf of a proposed state-wide class of hourly non-

                18    exempt on-site employees who worked at CHERNE locations in California to challenge

                19    Defendants' (a) policy and practice of failing to pay any wages whatsoever, including the

                20    minimum wage, to employees for compensable travel time, including time spent traveling and/or

                21    waiting for and/or operating company-provided transportation to, from and/or within the

                22    refineries and other facilities; (b) policy and practice of violating California Labor Code § 510

                23    and IWC Wage Order 16-2001 by failing to pay overtime wages to employees who worked more

                24    than eight hours in a day or 40 hours in a week; (c) policy and practice of violating California

                25    Labor Code §§ 226.7 and 512and IWC Wage Order 16-2001 by failing to provide meal periods

                26    to employees, including second meal periods to employees who worked more than 10 hours in a

                27    day; (d) policy and practice of violating California Labor Code § 226.7 and IWC Wage Order 16-

                28    2001 by failing to authorize and permit third rest periods to employee who worked more than 10
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                   hours in a day, (e) policy and practice of violating California Labor Code            §   226 by failing to

               2   provide complete and accurate itemized wage statements; and (I) policy and practice of violating

               3    California Labor Code   §§ 201-203 by failing to pay former employees all wages due and owing
               4    at the time of discharge or voluntary quit

               S           8.      Plaintiff brings this action on behalf of herself and a proposed class of all hourly

               6   non-exempt on-site workers employed by CHERNE at client locations within the State of

               7   California at any time during the applicable limitations period preceding the original filing of the

               8   Complaint up through the present and until compliance with the law. Additionally, Plaintiff

               9   brings this action as a representative action on behalf of all aggrieved employees. Plaintiff seeks

     en       10   recovery of all allowable compensation and other sums for the violations described above,
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0.400         11   including unpaid minimum and overtime wages, penalties/premium pay for missed meal and rest

              12   periods, restitution and restoration of sums owed aid property unlawfully withheld, statutory
CL.' t
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>II           13   penalties, declaratory and injunctive relief, interest, attorneys' fees, and costs.
0 1-      -
              14                                      III.FACTUAL ALLEGATIONS

              15                  CHERNE provides workers on a contract basis for its clients that operate refineries

Lu            16   or industrial plants. The work is performed at multiple locations in the State of California.

     un r'    17                   At all relevant times, Plaintiff was employed by CHERNE as an hourly non-
     0'
              18   exempt employee in an on-site construction occupation as defined by § 2(C) of IWC Wage Order

              19   16-2001. During her employment with CHERNE, Plaintiff worked six to seven days a week, and

              20   typically worked more than 10 hours a day.

              21                  Defendants had a policy and practice of failing to pay Plaintiff and other putative

              22   class members for all hours worked by failing to pay them any wages, including minimum wage,

              23   for travel time that is compensable under the California Labor Code and IWC Wage Order 16-

              24   2001, including time spent travelling and/or waiting for and/or operating company-provided

              25   shuttles or buses to, from and/or within the refineries and other facilities.

              26                  At all relevant times, Labor Code      §*   226.7 and 512 and lWC Wage Order 16-

              27   2001: § 10(B), have required employers to provide employees (I) with a first meal period of not

              28   less than 30 minutes during which they are relieved of all duty before they have worked more

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                       than five hours in a day and (2) a second duty-free meal period of not less than 30 minutes before

                  2    they have worked more than 10 hours in a day. Plaintiff and other putative class members

                  3    worked more than 10 hours in a day and CHERNE had a policy and practice or failing to provide

                  4    them with all timely and required uninterrupted meal periods of at least 30 minutes. Plaintiff

                  5   alleges that she and, on information and belief, other putative class members never waived their

                  6   right to a second meal period. Further. Plaintiff and other putative class members sometimes

                  7   worked more than 12 hours in a day. Under Labor Code § 512(a): second meal periods are not

                  8   waivable for employees who work more than 12 hours in a day.

                  9                   During the period in which Plaintiff was employed by CHERNE, she was required

       en        10   to work shifts longer than 10 hours. When CHERNE required Plaintiff and members of the
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                 11   proposed class to work shifts longer than 10 hours: it had a policy and practice of failing to
fl .

                 12   authorize and permit putative class members to take discrete third rest periods of at least 10

> ea             13   minutes as required by Labor Code § 226.7 and lWC Wage Order 16-2001, § 11(A).
0 "
                 14                   Labor Code § 226 provides that every employer is required, "semimonthly or
oI
LL2         en   15   the time of each payment of wages," to give each employee an itemized wage statement that

Wr               16   includes "gross wages earned." Defendants had a policy and practice of violating Labor Code §

       '0
                 17   226 by failing to provide complete and accurate itemized wage statements to Plaintiff and th
       0'
                 18   putative class members in that the wage statements provided did not, among other things, include

                 19   the accurate hours worked, the correct applicable rates for the hours worked, and the correct gross

                 20   wages earned.

                 21                   Defendants had a policy and practice or violating California Labor Code §§ 201-

                 22   203 by failing to pay Plaintiff and putative class members all wages due and owing at the time of

                 23   discharge or voluntary quit.

                 24                   Defendants had a policy and practice of failing to pay employees in a timely

                 25   manner as required by Labor Code § 204b.

                 26           Ii.     Defendants had a policy and practice of violating Labor Code §§ 550-552, 1198

                 27   and 1199 by failing to provide employees with one day's rest in seven.

                 28

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                                                    IV.CLASS ACTION ALLEGATIONS

               2            18.    Plaintiff brings this action on behalf of herself and as a class action under Code of

               3    Civil Procedure § 382 on behalf of a class of similarly situated persons employed byCHERNE in

               4     the.State of California. Specifically, Plaintiff seeks to represent the class of all hourly non-

               5    exempt on-site employees who performed work for CHERNE at job sites located within the State

               6    of California at any time during the applicable limitations period preceding the original filing of

               7    the Complaint and up through the present and until compliance with the law. Plaintiff also seeks

               8    to represent the following sub-classes of employees who worked for CHERNE at job sites within

               9    the State of California:

              •10                          All hourly non-exempt on-site employees who performed work for
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              11                           CHERNE at any time during the applicable limitations preceding the
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         In   12                           original filing of the Complaint and up through the present and until
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>Ex           13                           compliance with the law, inclusive, who were not paid any wages
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              14                           whatsoever, including minimum wage, for certain hours worked, including
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     U —
              15                           their time spent traveling and/or waiting for and/or operating company-
         '1

LU            16                           provided transportation to, from and/or within the refineries and other

              •17                          facilities;

              18                           All hourly non-exempt on-site employees who performed work for

              19                           CHERNE and any time during the applicable limitations period preceding

              20                           the original filing of the Complaint and up through the present and until

              21                           compliance with the law, inclusive, who were not paid in accordance with

              22                           Labor Code § 510 when the), worked more than eight hours in a day;

              23                           All hourly non-exempt on-site employees who performed work for

              24                           CHERNE at any time during the applicable limitations period preceding

              25                           the original filing of the Complaint and up through the present and until

              26                           compliance with the law, inclusive, who worked more than 10 hours in a

              27                           day and were not provided all meal periods;

              28
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                                              All hourly non-exempt on-site employees who performed work for

                 2                            CHERNE at any time during the applicable limitations period preceding

                 3                            the original filing of the Complaint and up through the present and until

                 4                            compliance with the law: inclusiv; who worked more than 10 hours in a

                 5                           day but were not provided a third rest period;

                 6                            All hourly non-exempt on-site employees who performed work for

                 7                           CHERNE at any time during the applicable limitations period preceding

                 8                           the original filing of the Complaint and up through the present and until

                 9                           compliance with the law, who did not receive complete and accurate wage

      rl        10                           statements; and
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           00   •11                          All hourly non-exempt on-site employees who performed work for

                12                           CHERNE at any time during the applicable limitations period preceding
LZI
                13                           the original filing of the Complaint and up through the present and until
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o g—            '4                           compliance with the law, inclusiv; who were not paid all wages due upon
cd              15                           discharge or voluntary quit as required by Labor Code §§ 201-203;

                16                   The class and sub-classes that Plaintiff seeks to represent contain numerous

      0
           -    17    members and are clearly ascertainable. Plaintiff reserves the right under Rule 3.765 of the
      C'
                18    California Rules of Court to amend or modify the class and sub-class descriptions with greater

                19    specificity or further division into additional subclasses or limitation to particular issues.

                20                   By their unlawful practices and policies, Defendants have violated the rights of

                21    employees under the laws and regulations of the State of California. The questions raised are,

                22    therefore, of common or general interest to the class members, who have a well'defined

                23    community of interest in the questions of law and fact raised in this action.

                24                   Plaintirns claims are typical of those of the class, as Plaintiff now suffers and has

                25    suffered in the past from the same violations of the law as other members of the proposed class.

                26    Plaintiff has retained competent counsel to represent her and the class, and Plaintiff will fairly and

                27    adequately represent the interests of the class.

                28                   This action may properly be maintained as a class action under Code of Civi

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                     Procedure § 382 because there is a well-defined community of interest in the litigation and

                2    proposed class and sub-classes are easily ascertainable.

                3    Numerosity

                4                   The members of the proposed class are so numerous that joinder of all c

                5    members is impracticable. While the precise number of class members has not been determined

                6    at this time, Plaintiff is informed and believes that Defendants have employed as many as 600

                7    workers or more in the relevant time period.

                8                   Plaintiff alleges that Defendants' employment records would contain relevant

                9    information as to the number of members of the proposed class.

      0
               10    Commonality

P4        00   •11                  There are questions of law and fact common to the class that predominate over any

p—I            12    questions affecting only individual class members. Those common questions of law and fact

>• E           13    include, without limitation, the following:

               14                           Whether Defendants had a policy or practice of failing to pay class
      Cl —
         in    15                          members for all hours worked

               16                           Whether Defendants paid class members at the correct rate for hours

               17                           worked in excess of eight hours in a day;

               18                           Whether Defendants had a policy and practice of failing to provide class

               19                          members with all of their required meal periods;

               20                          Whether Defendants had a policy and practice of failing to provide class

               21                          members with all of their required paid rest periods;

               22                          Whether Defendants had a policy and practice of violating Labor Code §

               23                          226 by failing to provide required information on wage statements, such as

               24                          gross wages earned, and whether those statements were accurate;

               25                   (I)    Whether Defendants had a policy and practice of violating Labor Code §

               26                          201-203 by failing to pay departing class members all wages due at the

               27                          time of discharge or voluntary quit; and

               28                   (g)    Whether Plaintiff and the members of the class are entitled to equitable

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                                            relief under Business and Professions Code §§ 17200, ci seq.

                 2 I Typicality and AdeQuacy of Representation

                 3                  Plaintiff's claims are typical of the claims of the proposed class. Plaintiff and all

                 4   members of the proposed class sustained injuries and economic loss arising out of and caused

                 5   Defendants' common course of conduct in violation of laws and regulations alleged in this

                 6 I Complaint.

                 7                  Plaintiff will fairly and adequately protect the interests of all proposed class

                 8   members. Plaintiff has no interests that are antagonistic to those of the proposed class andis not

                 9   subject to any unique defenses. Plaintiff also has retained counsel experienced in class actions

     m          10   and in representing employees and protecting employees' rights.
     0


04         00   II   Superiority of Class Action

                12                  A class action is superior to other available means for the fair and
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                13   adjudication of this controversy. Individual joinder of all proposed class members is not
     C-
                14   practicable, and questions of law and fact common to the class predominate over any questions

                15   affecting only individual members of the class. Each member of the class has been damaged and
     rn w
LU              16   is entitled to recovery by reason of Defendants' illegal policies and/or practices.

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                17                  Class action treatment will allow those similarly-situated persons to litigate their
     a'
                18   claims in the manner that is most effective and economical for the parties and the judicial

                19   Plaintiff is unaware of any difficulties that are likely to be encountered in the management of this

                20   action that would preclude its maintenance as a class action.

                21                  A class action is superior to other available methods for the fair and efficient

                22   adjudication of this controversy because individual litigation of the claims of all proposed class

                23   members is impractical. Even if even' proposed class member could afford individual litigation,

                24   the court system could not. It would be unduly burdensome to the courts if individual litigation

                25   of numerous cases were to be required. Individualized litigation also would present the potential

                26   for varying, inconsisient, or contradictory judgments and would magnify the delay and expense to

                27   all parties and to the court system resulting from multiple trials of the same complex factual

                28   issues. By contrast, the conduct of this action as a class action with respect to some or all of the

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                      issues presented herein gives rise to fewer management difficulties, conserves the resources of the

                 2    court system and the parties and protects the rights of each proposed class member. Further, it

                 3    prevents the very real harm that would be suffered by numerous putative class members who

                 4    simply will be unable to enforce individual claims of this size on their own, aid by Defendants'

                 5    competitors, who will be placed at an unfair competitive disadvantage as their punishment for

                 6    obeying the law. Plaintiff does not anticipate difficulties in the management of this action.

                 7                                 V.      REPRESENTATIVE ACTION

                 8                   Plaintiff seeks to represent all aggrieved employees with the meaning of Labor

                 9   Code §§ 26982 ci seq., who are or were employed by Defendants as hourly non-exempt on-site

     rfl        10   employees who performed work within the State of California and were not paid any wages
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a
-          00   11    whatsoever, including minimum wage, for certain hours worked, including their time spent

                12   traveling and/or waiting for and/or operating company-provided transportation.
tu
                13                   Plaintiff seeks to represent all aggrieved employees with the meaning of Labor

     am         14   Code V§ 2698, ci seq., who are or were employed by Defendants as hourly non-exempt on-site

EM              15   employees who performed work within the State of California and were not paid in accordance

U)              16   with Labor Code § 510 and Wage Order No. 1 &200 I for hours worked in excess of eight in a day

     '0
                17   or 40 in a week.
     C'

                18                   Plaintiff seeks to represent all aggrieved employees with the meaning of Labor

                19   Code §§ 2698, ci seq., who are or were employed by Defendants as hourly non-exempt on-site

                20   employees who performed work for CHERNE at job sites located in the State of California and

                21   were not provided their required meal periods.

                22                  Plaintiff seeks to represent all aggrieved employees with the meaning of Labor

                23   Code §§ 2698, ci seq.. who are or were employed by Defendants as hourly non-exempt on-site

                24   employees who performed work for CHERNE at job sites located in the State of California and

                25   were not authorized or permitted to take all of their required rest periods.

                26                  Plaintiff seeks to represent all aggrieved employees with the meaning of Labor

                27   Code §§ 2698, ci seq., who are or were employed by Defendants as hourly non-exempt on-site

                28   employees who performed work for CHERNE at job sites located in the State of Califomiaand

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                did not receive the complete and accurate itemized wage statements required by Labor Code §

            2   226(a).

            3                 Plaintiff seeks to represent all aggrieved employees with the meaning of Labor

            4   Code §§ 2698, ci seq.. who are or were employed by Defendants as hourly nonexempt on-site

            5   employees who performed work for CHERNE at job sites located in the State of Califomiaand

            6   were not paid all wages due at the time of discharge or voluntaiy quit as required by Labor Code

            7   §§ 201-203.

            8                 Plaintiff seeks to represent all aggrieved employees with the meaning of Labor

            9   Code §§ 2698: ci seq., who are or were employed by Defendants as houily non-exempt on-site

      -h   10   employees who performed work for CHERNE at job sites located in the State of Califomiaand
      0

           11   were not paid all wages in a timely manner as required by Labor Code § 204b.

           12                 Plaintiff seeks to represent all aggrieved employees with the meaning of Labor
Cs)
           13   Code §§ 2698, ci seq., who are or were employed by Defendants as hourly nonexempt on-site
>
Cie        14   employees who performed work for CHERNE at job sites located in the State of Califomiaand

-I    -
           15   were not provided one day of rest in seven as required by Labor Code §§ 550-552.

—jfl2      16                 There is a well-defined community of interest in the questions of law and fact
Cs) .-.



           17   affecting the aggrieved employees whom Plaintiff seeks to represent. The aggrieved employees'
      '0
      C'
           IS   claims against Defendants involve questions of common or gmeral interest including but not

           19   limited to the following: (1) whether Defendants had a policy and practice of failing to pay

           20   aggrieved employees any wages whatsoever, including minimum wage, for certain hours worked,

           21   including their time spent traveling and/or waiting for and/or operating company-provided

           22   transportation to, from and/or within the refineries and other facilities; (2) whether Defendants

           23   had a policy and practice of violating Labor Code § 510 and Wage Order No. 16.2001 by failing

           24   to pay aggrieved employees in accordance with for hours worked in excess of eight in a day or 40

           25   in a week; (3) whether Defendants had a policy and practice of failing to provide aggrieved

           26   employees with all of their required meal periods; (4) whether Defendants had a policy and

           27   practice of failing to provide aggrieved employees with all of their required rest periods; (5)

           28   whether Defendants had a policy and practice of violating Labor Code U26 by failing to provide

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                   required information on wage statements, such as gioss wages earned, and whether those

               2   statements were accurate; (6) whether Defendants had a policy and practice of violating Labor

               3   Code §§ 201-203 by failing to pay departing aggrieved employees all wages due at the time of

               4   discharge or voluntary quit; (7) whether Defendants had a policy and practice of violating Labor

               5   Code § 204b by failing to pay aggrieved employees in a timely manner; and (8) whether

               6   Defendants had a policy and practice of violating Labor Code §§ 550-552 by failing to provide

               7   aggrieved employees with one day of rest in seven.

               8                   Plaintiff's experiences are typical of the experiences of the aggrieved employees

               9   whom Plaintiff seeks to represent on a PAGA representative basis and her interests are consistent

     C,       10   with, and not antagonistic to, those of the State of California and the other aggrieved employees.
     0

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     a"c  -

              II   Plaintiff will fairly and adequately represent the interests of the State of California and the

              12   aggrieved employees whom she seeks to represent because Plaintiff also is an aggrieved

> 12 a        13   employee and her claims are typical of those of the aggrieved employees. Plaintiff has retained

              14   attorneys who are experienced in the prosecution of class and representative actions, and Plaintifi

              IS   intends to prosecute this action vigorously.
—J
w             16                   Common questions of law and fact exist as to all aggrieved employees that

     '0
              17   predominate over any other questions affecting only individual aggrieved employees.
     a'
              Is                   Plaintiff requests permission to amend the Complaint to include additional

              19   representatives if Plaintiff is deemed not to be an adequate representative of the aggrieved

              20   employees.

              21                                 VI.     FIRST CAUSE OF ACTION

              22       (UNFAIR BUSINESS PRACTICES— CAL. BUS. & PROF. CODE % 17200, ci .scq.)

              23                   Plaintiff repeats and realleges each and every paragraph above as though fully

              24   forth herein.

              25                   California Business and Professions Code §§ 17200. ci .wq., prohibit unfair

              26   competition in the form of any unlawful, unfair, deceptive, or fraudulent business act or practice.

              27                   Beginning at an exact date unknown to Plaintiff but at least during the four-year
                                                                                    .




              28   period preceding the original tiling of the Complaint and up through the present. Defendants

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                    committed unlawful acts and practices as defined by California Business and Professions Code §

               2     7200, ci seq. Defendants have had a policy and practice of engaging in unlawful and unfair

               3    business practices including but not limited to violations or:

               4                           Labor Code §§ 510 and 1194 (failure to pay all wages due, including

               5                           minimum, overtime, and double-time wages);

               6                           Labor Code §§ 226.7 and 512 (failure to provide meal periods and to

               7                           authorize and permit rest breaks and failure to pay the premium pay

               8                           required by law when those meal periods and rest breaks are not provide4l;

               9                          Labor Code § 226 (failure to provide accurate itemized wage statements);

      I,      10                          Labor Code §§ 201-203 (failure to pay, all wages at time of discharge or
      0

0400          11                           voluntaiy quit);
 -1   <r
—     0 fl    12                          Labor Code § 204b (failure to pay wages within the times provided by
LLI
>• 2          13                          law);
      C—
              14                   (fl    Labor Code § 550— 552 (failure to provide one day's rest in seven); and

              15                   (g)    Industrial Welfare Commission IWC Wage Order No. 16-2001.

La            16                   The violations of those laws and the acts and practices described in this Complaint

      Ins-.
      '0
              17   constitute unlawful, unfair, deceptive and fraudulent business acts and practices and unfair
      a'
              18   competition within the meaning of Business and Professions Code §§ 172)0, ci seq.

              19                   As a direct and proximate result of those acts and practices. Defendants have

              20   received and continue to hold as ill-gotlen gains money and property belonging to Plaintiff and

              21   the class, in that Defendants have profited in those amounts from thefr unlawful practices.

              22                  Business and Professions Code § 17203 provides that the Court may restore to any

              23   person in interest any money or property which may have been acquired by means of unfair

              24   competition and order Defendants to make restitution to Plaintiff for the practices alleged in this

              25   Complaint. Plaintiff and putative class members are entitled under Business and Professions

              26   Code §§ 17203 and 17208 to restitution and restoration of all wages unlawfully withheld at any

              27   time during the four-year period preceding the àriginal filing of the Complaint and up through the

              28   present and until the violations have been corrected, together with all civil penalties owed in

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                     connection with those violations. Plaintiff will, upon leave of the Court, amend this Complaint to

                2   slate those amounts when they are ascertained.

                3                   PlaintifFs success in this action will enforce important rights affecting the public

                4   interest and, in that regard, Plaintiff sues on behalf of the proposed class as well as on behalf of

                5   herself and the general public. Plaintiff seeks and is entitled to unpaid wages, injunctive relief,

                6   and any other remedy owing to Plaintiff and all others similarly situated.

                7                   Injunctive relief is necessary and appropriate to prevent Defendants from repeating

                8   or continuing their wrongful business practices alleged above.

                9                   To prevent Defendants from profiting and benefiting from their wrongful and

      en       10   illegal policies and practices, an order requiring Defendants to restore to Plaintiff all monies and
      C
           -
      0' t
               I    property unlawfully gained through Defendants' unlawful practices is appropriate and necessary.

— 0 tfl        12                   Plaintiff takes upon herself enforcement of these laws and lawful claims. There is
£12
               13   a financial burden incurred in pursuing this action and it would be against the interests of justice
>Ex

               14   to penalize Plaintiff by forcing her to pay attorneys' fees from the recovery in this action.

IL'   -
               IS   Therefore, an award of attorneys' fees is appropriate under California Code of Civil Procedure §

Lu             16   1021.5.

      '0
               17           Wherefore, Plaintiff prays for relief as set forth below.
      0'

                8                                  VII.     SECOND CAUSE OF ACTION

               19        (UNPAID WAGES, OVERTIME PAY, MINIMUM WAGES AND LIQUIDATED

               20                         DAMAGES    -    LABOR CODE §§ 510,1194 AND 1194.2)

               21                   Plaintiff repeats and realleges each and even' paragraph above as though fully

               22   forth herein.

               23                   Labor Code § 510 and IWC Wage Order 16-2001, require, among other things:

               24                   (a)    One and one-half times the employee's regular rate of pay for all hours

               25                          worked in excess of eight hours and up to and including 12 hours in any

               26                          workday, and for the first eight hours worked on the seventh consecutive

               27                          day of work in a workweek; and

               28

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                                  (b)    Double the employee's regular rate of pay for all hours worked in excess

               2                         12 hours in any workday and for all hours worked in excess of eight ho

               3                         on the seventh consecutive day of work in a workweek.

               4                  Defendants had a policy and practice of failing to pay Plaintiff and other putative

               5   class members for all hours worked by failing to pay them any wages, including minimum wages

               6   and overtime pay, for certain hours worked, including time spent traveling and/or waiting for

               7   and/or operating company-provided transportation.

               8                  Plaintiff seeks to recover all unpaid wages and overtime pay due to Plaintiff and

               9   other putative class members, as well as minimum wages and liquidated damages, if

              10   and interest, under Labor Code §§ 218.6, 1194 and 1194.2.
     0
          -
     0' .0
        00    II                  Plaintiff seeks attorneys' fees and costs under Labor Code § 1194, which

              12   for a private right of action to recover unpaid minimum wage and overtime compensation
     OR
EL] •u
     C    .

>             13   also provides for the recovery of attorneys' fees and costs. Wherefore, Plaintiff prays for
c g-          14   as set forth below.

LU            15                                  WI!. THIRD CAUSE OF ACTION

              16                (UNPAID WAGES, OVERTIME PAY AND MINIMUM WAGES—

              '7               LABOR CODE PRIVATE ATTORNEYS GENERAL ACT OF 2004)

              18                  California Labor Code § 2699(I) permits "aggrieved employees" to recover certain

              19   penalties on their own behalf and on behalf of other current and former employees.

              20                  Plaintiff is an "aggrieved employee" as that term is defined in the Labor Code

              21   Private Attorneys General Act of 2004 because she is a person who was employed by the alleged

              22   violator and against whom one or more of the alleged violations was committed.

              23                  Plaintiff has met all of the Labor Code § 2699.3 requirements to commence a civil

              24   action against Defendants for violations of Labor Code §§ 510, 1194, 1197, 1197.1, 1198 and

              25   1199.

              26                  By the actions alleged herein, Defendants violated Labor Code §§ 510, 1194,

              27   1197, I 197.1, 1198 and 1199 by failing to pay Plaintiff and other aggrieved employees overtime

              28   pay on all occasions when it was required by law and failing to pay aggrieved employees any

                   FIRST AMENDED COMPLAINT                                14                 CASE NO. RG18892816
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                      wages, including minimum wages and overtime pay, for certain hours worked.

                2                    Therefore, Plaintiff and all current and former aggrieved employees demand the

                3     penalties provided by Labor Code § 2699(I) for violations of Labor Code §§ 510, 1194, 1197,

                4     1197.1, 1198and 1199.

                5                    Plaintiff further seeks reasonable attorneys' fees and costs under Labor Code

                6     1194 and 2699(g)(1).

                7            Wherefore, Plaintiff prays for relief as set forth below.

                8                                     IX.FOURTH CAUSE OF ACTION

                9                                   (FAILURE TO PROVIDE MEAL PERIODS)

               10                    Plaintiff repeats and realleges each and every paragraph above as though fully
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           -
a              11 I forth herein.
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_; <r
               12                    At all relevant times, the Defendants were "employers" of Plaintiff and members

               13    of the proposed class within the meaning of Labor Code §j 226.7 and 512, and INC Wage Order
>Ex
               14     16-2001, § 2(I).
cI
toI   -
               IS                    At all relevant times, Plaintiff and members of the proposed class were

C14            16    "employees" of Defendants within the meaning of Labor Code §* 226.7 and 512, and IWC Wage

      inF      •17   Order 16-2001, § 2(H). Plaintiff and members of the proposed class also were employed by
      '0
      0

               18    Defendants in on-site construction occupations, as defined in and within the meaning of IWC

               19    Wage Order 16-2001, § 2(C).

               20                    At all relevant times, Labor Code §§ 226.7 and 512. and IWC Wage Order 16-

               21    2001, § 10, have provided that employees must receive a first meal period of not less than 30

               22    minutes before working more than live hours in a day, and a second meal period of not less than

               23    30 minutes before working more than 10 hours in a day.

               24                    As alleged above, Defendants required Plaintiff and members of the proposed

               25    class at various times to work more than 10 hours in a single day, including,occasionally, shifts

               26    longer than 12 hours. On those occasions when Plaintiff and members of the proposed class

               27    worked more than 10 hours in a single day. Defendants had a policy and practice of refusing

               28    and/or failing to provide employees all of their required duty-free meal periods as mandated by

                     FIRST AMENDED COMPLAINT                                   15              CASE NO. R618892816
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                  Labor Code §§ 226.7 and 512 and IWC Wage Order 16-2001. § 10(8). Plaintiff alleges that she

             2    and, on information and belief: other members of the proposed class did not waive their rights to

             3    second meal period.

             4                    Defendants' practices of failing to provide employees timely and uninterrupted

             5    meal periods of not less than 30 minutes and of requiring employees to work through those meal

             6    periods, violate Labor Code §§ 226.7 and 512(a) and IWC Wage Order 16-2001, § 10(8).

             7                    Plaintiff and members of proposed class have lost money as a direct result of

             8    Defendants' unlawful practices as alleged above in that the), were required to work shifts longer

             9    than 10 hours, were not provided their required meal periods, and were not compensated correctly

            10    for not having been provided those meal periods. Thus. Plaintiff and members of the proposed
      0


0-i         •11   class are entitled to proper compensation, restitution and preniium pay for each meal period that
      <I-

-     0 U   12    was not provided as required by law and to the waiting time penalties attached to those violations.
U.,
            13                    CHERNE's violations of Labor Code §§ 226.7 and 512 and IWC Wage Order 16-
> u.
au-
  C-
            14    2001 as alleged above are ongoing and will continue unless and until this Court enters an

      u-c   IS    injunction barring those violations.

U.)         16                    Plaintiff is entitled to an award of attorneys' fees and costs and expenses incurred

            Ii    in this action under Code of Civil Procedure § 1021.5.

            IS           Wherefore, Plaintiff prays for relief as set forth below.

            19                                      X. FIFTH CAUSE OF ACTION

            20                            (FAILURE TO PROVIDE MEAL PERIODS—

            21                LABOR CODE PRIVATE ATTORNEYS GENERAL ACT OF 2004)

            22                    Plaintiff repeats and realleges each and even' paragraph above as though fully ot

            23    forth herein.

            24                    California Labor Code § 2699(0 permits "aggrieved employees" to recover certain

            25    penalties on their own behalf and on behalf of other current and former employees.

            26                    Plaintiff is an "aggrieved employee" as that term is defined in the Labor Code

            27    Private Attorneys General Act of 2004 because she is a person who was employed by the alleged

            28    violator and against whom one or more of the alleged violations was committed.

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                                   Plaintiff has met all of the Labor Code § 2699.3 requirements to commence a civi

              2   action against Defendants for violations of Labor Code §§ 226.7, 512, 1198 and 1199.

              3                   By the actions alleged herein, Defendants failed to provide all required mea

              4   periods in violation of Labor Code §§ 226.7, .512, 1198 and 1199.

              5                   Therefore. Plaintiff and all current and former aggrieved employees demand thi

              6   penalties provided by Labor Code § 2699(1) for violations of Labor Code §§ 226.7, 512, 1198 anc

              7    1199.

              8                   Plaintiff further seeks reasonable attorneys' fees and costs under Labor Code I

              9   2699(g)(1).

             10            Wherefore, Plaintiff prays for relief as set forth below.
     C

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     c"o     11                                      XI.SIXTH CAUSE OF ACTION
n-Icc



             12                   (FAILURE TO AUTHORIZE AND PERMIT REST PERIODS)
Lu
             13                   Plaintiff repeats and realleges each and every paragraph above as though fully
>
xc—          14   forth herein.

             15                   As alleged above, Defendants required Plaintiff and members of the proposed

Lu           16   class at various times to work more than 10 hours in a single day. Occasionally the shifts lasted


9I.          17

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                  12 hours or longer. On those occasions when Plaintiff and members of the proposed class worked

                  more than 10 hours in a single day, Defendants had a policy and practice of violating Labor Code

             19   § 226.7 and IWC Wage Order 16-2001, § 11(A). by refusing and/or failing to authorize and

             20   permit employees to take a third rest period of not less than 10 minutes. Plaintiff alleges that she

             21   and, on information and belief, members of the proposed class did not waive their rights to a third

             22   rest period.

             23                   Defendants' practices of failing to authorize and permit employees to take a third

             24   rest period of not less than 10 minutes when employees were required to work more than 10 hours

             25   in a day, and of requiring employees to work through that rest period, violate Labor Code § 226.7

             26   and lWC Wage Order 16-2001. § 11(A).

             27                   Plaintiff and members of the proposed class lost money as a direct result d'

             28   Defendants' unlawful practices as alleged above in that they were required to work shifts longer

                  FIRST AMENDED COMPLAINT                                    Ii               CASE NO. RC18892816
                       Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 40 of 49




                        than 10 hours, were not provided a third rest period and were not compensated correctly for

                   2   having been provided a third rest period. Accordingly. Plairtiff and members of the proposed

                   3    class are entitled to proper compensation, restitution and premium pay for each rest period thai

                   4    was not provided as required by Labor Code § 226.7.

                   5                      Defendants' violations of Labor Code      § 226.7 and IWC Wage Order 16-2001 as
                   6   alleged above are ongoing and will continue unless and until this Court enters an injunction

                   7   barring those violations.

                   8                      Plaintiff is entitled to an award of attorneys' fees and costs and expenses incurred

                   9   in this action under Code of Civil Procedure § 1021.5.

       F,         10               Wherefore, Plaintiff prays for relief as set forth below.
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a
-           00    11                                     XII.    SEVENTH CAUSE OF ACTION

                  12                 (FAILURE TO AUTHORIZE AND PERMIT THIRD REST PERIODS                          -




>I!x              13                   LABOR CODE PRIVATE ATTORNEYS GENERAL ACT OF 2004)

                  14                      Plaintiff repeats and realleges each and every paragraph abow as thpugh fully set
oI
  •1   -.   FyI   15   forth herein.

LjJ               16                      California Labor Code § 2699(f) permits "aggrieved employees" to recover certain

       '0
                  17   penalties on their own behalf and on behalf of other current and former employees.
       0

                  18                      Plaintiff is an "aggrieved employee" as that term is defined in the Labor Code

                  19   Private Attorneys General Act of 2004 because she is a person who was employed by the alleged

                  20   violator and against whom one or more of the alleged violations was committed.

                  21                      Plaintiff has met all of the Labor Code § 2699.3 requirements to commence a civil

                  22   action against Defendants for violations of Labor Code §§ 226.7, 1198 and 1199.

                  23                      By the actions alleged herein. Defendants violated Labor Code §§ 226.7, 1198 and

                  24   1199 by failing to authorize and permit all required rest periods.

                  25                      Therefore, Plaintiff and all current and former aggrieved employees demand the

                  26   penalties provided by Labor Code          § 2699(f) for violations of Labor Code §§ 226.7 1198 and
                  27        199.

                  28                      Plaintiff further seeks reasonable attorneys' fees and costs under Labor Code     §
                       FIRSTAMENDED COMPLAINT                                        18        -   -   CASENO.R618892816         -




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                     2699(g)( 1).

                 2           Wherefore, Plaintiff prays for relief as set forth below.

                 3                                  XIII. EIGHTH CAUSE OF ACTION

                 4          (FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS)

                 5                    Plaintiff repeats and realleges each and eveiy paragraph above as though fully

                 6' forth herein.
                 7                    As alleged above, during all or some portion of the proposed class period,

                 8   Defendants violated Labor Code § 226 through their practice of failing to provide their

                 9   employees, including Plaintiff and members of the proposed class, with complete and accurdte

     0
                10   iemized wage statements. Among other things, the wage statements provided by Defendants

3.400           11   violated Labor Code § 226(a) by railing to state accurately the gross wages earned, the actual
• -. <r

     o    "id   12   hours worked by each employee, and the names and addresses of the legal entities that were the
LU
>.              13   employers.

     a          14                   Under Labor Code § 226(e, Plaintiff and members of the proposed class are

                15   entitled to recover the greater of actual damages or $50 for the initial pay period in which a

LU              16   violation occurred and $100 for each subsequent pay period in vhh Defendants failed to comply

                17   with the statute, up to a maximum of $4,000 per employee.
     '0
     0'

                18                   Under Labor Code § 226(g), Plaintiff is entitled to injunctive relief and an order of

                19   this Court requiring Defendants to comply with all provisions of Labor Code § 226 Plaintiff also

                20   is entitled under Labor Code § 226(g) to an award of atlorneys' fees and costs incurred in

                21   bringing this action.

                22          Wherefore, Plaintiff prays for relief as set forth below.

                23                                   XIV. NINTH CAUSE OF ACTION

                24          (FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS—

                25                  LABOR CODE PRIVATE ATTORNEYS GENERAL ACT OF 2004)

                26                   Plaintiff repeats and realleges each and evety paragraph above as though fully

                27   forth herein.

                28                   California Labor Code § 2699(f) permits "aggrieved employees" to recover certain

                     FIRST AMENDED COMPLAINT                                   19                 CASE NO. R618892816
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                      penalties on their own behalf and on behalf of other current and former employees.

                 2                   Plaintiff is an ::aggrieved employee" as that term is defined in the Labor Code

                 3   Private Attorneys General Act of 2004 because she is a person who was employed by the alleged

                 4    violator and against whom one or more of the alleged violations was committed.

                 5                   Plaintiff has met all of the Labor Code § 2699.3 requirements to commence a civil

                 6   action against Defendants for violations of Labor Code § 226(a) 1198 and 1199.

                 7                   By their actions as alleged herein, Defendants have failed to comply with Labor

                 8   Code §§ 226(a)2 1198 and 1199 as they relate to Plaintiff and the other aggrieved employees. As

                     alleged above, Defendants employ a policy and practice of failing to provide complete and

       F,       10   accurate itemized wage statements to Plaintiff and other aggrieved employees as required by
       C
            -
a 00
-               11   Labor Code § 226(a) in that the wage statements provided do not, among other things, state

                12   accurately the gross wages earned and the actual hours worked by each employee Further, the
w
                '3   wage statements also violated Labor Code §§ 226(al 1198 and 1199 and IWC Wage Order 16-
>
Ou. L
                14   2001 by failing to include the name and address of the legal entity that is the employer.
ocL
LI.)            15                   Therefore, Plaintiflç for herself and all current and former aggrieved employees,

UJ              16   demands the penalties provided by Labor code § 2699(Q for violations of Labor Code § 226(a

       0        17   1198 and 1199.
       C'
                18                   Plaintiff further seeks reasonable attorneys' fees and costs under Labor Code

                19   2699(g)( I).

                20           Wherefore, Plaintiff prays for relief as set forth below.

                21                                   XV.     TENTH CAUSE OF ACTION

                22                                      (LABOR CODE fi 201-203)

                23                   Plaintiff repeats and realleges each and every paragraph above as though fully

                24   forth herein.

                25                   Labor Code §* 201 and 202 require an employer to pay its employees all

                26   due within the time specified by law. Labor Code § 203 provides that if an employer willfully

                27   fails to pay those wages within the time specified by Labor Code §§ 201 or 202, the

                28   must continue to pay the subject employees' wages day-by-day, weekends included, until the

                     FIRST AMENDED COMPLAINT                                   20                CASE NO. RG18892816
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                 back wages are paid in full or an action is commenced, up to a maximum of thirty days of wages.

           2             06.    Defendants unfairly and unlawfully have had a policy and practice of violatin

           3    Labor Code §§ 201 and 202 by failing to pay Plaintiff and the class all wages earned in theii

           4     employment within the time specified by those sections.

           5                    Plaintiff and all other putative class members who ceased employment with

           6     Defendants are entitled to unpaid compensation but thus far have not received that compensation.

           7                    More than 30 days have passed since Plaintiff and certain class members lef

           8    Defendants' employ.

           9                    As a consequence of Defendants' willful failure to compensate Plaintiff

 rl       10    putative class members timely for all hours worked, Plaintiff and class members vhos
 C
      -
          •11   employment ended at any time the during the three-year period preceding the original filing of the

          12    Complaint and up through the present and until compliance with the law are entitled to 30 days
WI;       13    wages under Labor Code § 203, together with interest.
>Ex
          14            Wherefore, Plaintiff prays for relief as set forth below.

W -       15                                     XVI. TWELFTH CAUSE OF ACTION
      t
          16                                      (LABOR CODE §§ 201.-203—
Lute

 '0       17                LABOR CODE PRIVATE ATTORNEYS GENERAL ACT OF 2004)
 a'
          18                    Plaintiff repeats and realleges each and every paragraph above as though fully

          19    forth herein.

          20                    California Labor Code § 2699(t) permits "aggrieved employees" to recover certain

          21    penalties on their own behalf and on behalf of other current and former employees.

          22                    Plaintiff is an "aggrieved employee" as that term is defined in the Labor Code

          23    Private Attorneys General Act of 2004 because she is a person who was employed by the alleged

          24    violator and against whom one or more of the alleged violations was committed.

          25                    Plaintiff has meet all of the Labor Code § 2699.3 requirements to commence

          26    civil action against Defendants for violations of Labor Code §§ 201-203.

          27                    By their actions as alleged herein, Defendants have failed to comply with

          28    Code §§ 20 1-203 as they relate to Plaintiff and the other aggrieved employees.

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                                      Therefore, Plaintiff, for herself and all current and former aggrieved employees,

                2    demands the penalties provided by Labor Code § 2699ffl for violations of Labor Code §§ 201-

                3 I 203.

                4                    Plaintiff further seeks reasonable attorneys' fees and costs under Labor Code §

                5    2699(g)(1).

                6            Wherefore!Plaintiff prays for relief as set forth below.

                7                                XVII. THIRTEENTH CAUSE OF ACTION

                8                                        (LABOR CODE § 204b —

                9                   LABOR CODE PRIVATE ATTORNEYS GENERAL ACT OF 2004)
      en
      0
               •lo           Ill. Plaintiff repeats and realleges each and every paragraph above as though fully
      V    —
p.4            I.' I forth herein.

—I             12             18.    California Labor Code § 2699(f) permits "aggrieved employees" to recover certain
w
>. r           13    penalties on their own behalf and on behalf of other current and former employees.
Cie C—         '4                    Plaintiff is an "aggrieved employee" as that term is defined in the Labor Code
(I

w              IS    Private Attorneys General Act of 2004 because she is a person who was employed by the alleged

—2             16    violator and against whom one or more of the alleged violations was committed.
w

      '0
               17                    Plaintiff has meet all of the Labor Code § 2699.3 requirements to commence a
      a'
               IS    civil action against Defendants for violations of Labor Code §§ 204b.

               19                    By their actions as alleged herein, Defendants have failed to comply with Labor

               20    Code §§ 204b as it relates to Plaintiff and the other aggrieved employees.

               21                    Therefore. Plaintilt for herself and all current and former aggrieved employees,

               22    demands the penalties provided by Labor Code § 2699(1) for violations of Labor Code §§ 204b.

               23                    Plaintiff further seeks reasonable attorneys' fees and costs under Labor Code §

               24    2699(g)(1).

               25           Wherefore. Plaintiff prays for relief as set forth below.

               26

               27    Il

               28    /I

                     FIRST AMENDED COMPLAINT                                  22                  CASE NO. RC18892816
               Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 45 of 49




                                             XVIII. FOURTEENTH CAUSE OF ACTION

           2                        (FAILURE TO PROVIDE ONE DAY OF REST IN SEVEN-

           3                    LABOR CODE PRIVATE ATTRONEYS GENERAL ACT OF 2004)

           4          •I24.    Plaintiff repeats and realleges each and every paragraph above as though fully sel

           5   forth herein.

           6          125.     California Labor Code § 2699(t) permits "aggrieved employees" to recover certain

           7   penalties on their own behalf and on behalf of other current and former employees.

           8          126.     Plaintiff is an "aggrieved employee" as that term is defined in the Labor Code

           9   Private Attorneys General Act of 2004 because she is a person who was employed by the alleged

          10   violator and against whom one or more of the alleged violations was committed.
     a    Ii          127.     Plaintiff has meet all of the Labor Code § 2699.3 requirements to commence a
'-        12   civil action against Defendants for violations of Labor Code §550-552.

          13          128.     By their actions as alleged herein, Defendants have failed provide Plaintiff and

          14   other aggrieved employees one day of rest in seven as required Labor Code §§ 550-552.

          15          129.     Therefore, Plaintiff, for herself and all current and former aggrieved employees,
     1n

     .
          16   demands the penalties provided by Labor Code § 2699(t) for violations of Labor Code §§ 550-

          17   552.
          18          130.     Plaintiff further seeks reasonable attorneys' fees and costs under Labor Code §

          19   2699(g)(1).

          20          Wherefore. Plaintiff prays for relief as set forth below.
          21                                        PRAYER FOR RELIEF

          22          Plaintiff prays for relief as follows:

          23                       i. For an order certifying this action as a class action;

          24                      ii. For disgorgement of profits and restitution and restoration of all costs

          25                          incurred, sums or property unlawfully withheld and/or losses caused by the

          26                          policy and practice of violating Business and Professions Code §§ 17200:

          27                          ci seq., by failing to pay all minimum wage, overtime and double-time

          28                          compensation owed to Plaintiff and the class members
               FIRST AMENDED COMPLAINT                                   23                    CASE NO. RG18892816




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                                  iii. For disgorgement of profits and restitution and restoration of all cats

                2                        incurred, sums or property unlawfully withheld and/or losses caused by

                3                        policy and practice of violating Business and Professions Code §§ 172

                4                        ci seq. by failing to provide proper meal and rest periods and to pay

                5                        wages due and owing for those failures;

                6                 iv. For compensatory damages in amounts according to proof at time of

                7                        representing the amount of unpaid minimum wage, overtime and double-

                8                        time compensation owed to Plaintiff and the class members for the policy

                9                        and practice of failing to pay all wages due and owing, as well as liquidated

               10                        damages as appropriate, during the applicable limitations period preceding
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           -
0.4            II                        the original filing of the Complaint and up to and including the present and
      <r
               12                        until the date of compliance with the law;

>• E           13                        For civil penalties as specified by Labor Code § 2699(1) for Plaintiff and
           '

               14                        each current and former aggrieved employee for each violation of Labor

               15                        Code     510, 1194, 1197, 1197.1, 1198and 1199 (failure to pay minimum,
-1 r fl
               16                        overtime and double-time wage) during the applicable limitations period

               Ii                        preceding the original filing of the Complaint and up to and including the
      '0
      C'
               18                        present and until the date of compliance with the law;

               19                        For compensatory damages in amounts according to proof at time of trial

               20                        representing the amount of unpaid compensation owed to Plaintiff and

               21                        class members for missed meal periods and rest periods due and owing

               22                        during the applicable limitations period preceding the original filing of the

               23                        Complaint and up to and including the present and until the date of

               24                        compliance with the law;

               25                 rii.   For civil penalties as specified by Labor Code § 2699(f) for Plaintiff and

               26                        each current or former aggrieved employee for each violation of Labor

               27                        Code §j 226.7, 512(a), 1198 and 1199 (missed meal periods and missed

               28                        rest periods) during the applicable limitations period preceding the original

                    FIRST AM ENDED COMPLAINT                              24                  CASE NO. RCI8$92816
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                                     filing of the Complaint and up to and including the present and until

               2                     date of compliance with the law;

               3                     For compensatory damages to Plaintiff and class members in an amount

               4                     according to proof at time of trial for the policy and practice of failing to

               5                     provide accurate, itemized wage statements during the applicable

               6                     limitations period preceding the original filing of the Complaint and up

               7                     through the present and until the date of compliance with the law;

               8                     For the statutory amounts provided by Labor Code § 226(e) for Plaintiff

               9                     and class members during the applicable limitations period preceding the

              10                     original filing of the Complaint and up through and including the present
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     o.t
      00      I•l                    and until the date of compliance with the law;

              12                     For civil penalties as specified by Labor Code § 2699(l) for Plaintiff and

              13                     each current or former aggrieved employee for each violation of Labor
>E
c         -
              14                     Code §§ 226(a) (failure to provide itemized wage statements), 1198 and

              15                     1199 during the applicable limitations period preceding the original filing
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uJ            16                     of the Complaint and up through the present and until the date of

     0
          -   17                     compliance with the law;
     0'

              18                     For waiting time penalties as provided by Labor Code § 203 for

              19                     and class members;

              20                     For civil penalties as specified by Labor Code § 2699(l) for Plaintiff and

              21                     each current or former aggrieved employee for each violation of Labor

              22                     Code §§ 201-203 (failure to pay departing employees all wages due and

              23                     owing) during the applicable limitations period preceding the original

              24                     filing of the Complaint and up through and including the present and until

              25                     the date of compliance with the law;

              26                     For civil penalties as specified by Labor Code § 2699(0 for Plaintiff and

              27                     each aggrieved employee for each violation of Labor Code § 204b (failure

              28                     to pay wages in a timely manner) during the applicable limitations period

                    FIRST AMENDED COMPLAINT                             25                CASE NO. RC18892816
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                                         preceding the original filing of the Complaint and   lip   through and including

                                         the present and until the date of compliance with the law;

                1                        For civil pehalties as specified by Labor Code   §   2699(f) for Plaintiff and

                4                       each aggrieved employee far each violation of Labor Code             §*   550-552

                                        (thilurc to provide one day of rest in seven) during the applicable

                6                       limitations period preceding the original filing of the Complaint and up

                7                       through and including the present and until the date of compliance with the

                8                       law;

                9                       For reasonable attorneys' fees and costs as allowed by Labor Code             §
     a 1       10                       226(e), 226(g), 1194(a), 2699(g)(1) and Code of Civil Procedure § 1021.5;
           -
     C' ,t     11
       'C                               For all interest as required by Labor Code    §   218.6 and other applicable
 1<rt

—     C    r   12                       law;
LU
>              13                       For all costs of this suit as allowed by law, including Labor Code §* 218.5,

               14                       226(e), 226(g), 1194 and 2699(g)(l); and
Qu
LU
     2r        Is                       For such other and further relief as the Court may deem proper.
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     IF)   -   Ii   Dated: February 23. 2018
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               18                                              Respectftilly submitted,

               19                                              KELLER GROVER LLP

               20

               21                                      By:
                                                              ERIC A. GROVER •J
                                                              ROBERT SPENCER
               23                                             Attorneys for Plaintiff and the Proposed Class

               24



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                    FIRST AM ENI)EIP COMPLAINT                           26                    CASE NO. RCISNnSIo
                   Case 4:18-cv-01912-HSG Document 1-1 Filed 03/28/18 Page 49 of 49




                                                       JURY TRIAL DEMAND
               7         Plairniff demands a trial by jury as to all issues so triable.

               3

               4

              .5   Dated: February 21 201 8                      KELLER GROVER LLP

               6

               7
                                                         By:                              ..J
               8                                                 ERIC A. GROVER            1j
                                                                 ROBERT SPENCER
             .9                                                  Attorneys for Plaintiff and the Proposed Class
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